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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY
  John Doe.

                  Plaintiff,                             Case No. 2:21-cv-20706
          v.                                             Declaration of Daniel S. Szalkiewicz, Esq.

  Baila Sebrow

                  Defendant

        DANIEL S. SZALKIEWICZ declares as follows:

        1.       I am a partner at the law firm of Daniel Szalkiewicz & Associates, P.C., attorneys

 for the defendant in the above captioned action. I submit this declaration in support of

 Plaintiff’s motion to dismiss.

        2.       On November 1, 2022 at 3:51 P.M., I personally emailed Defendant’s counsel a

 copy of the October 19, 2022 Letter Order (DE 14) to counsel’s email address

 iwhelleresq@gmail.com.

        3.       On November 10, 2022 at 8:53 A.M., I personally emailed Defendant’s counsel a

 copy of Plaintiff’s Rule 26(a)(1) disclosures to counsel’s email address iwhelleresq@gmail.com.

        4.       On November 11, 2022 at 2:25 P.M., I personally emailed Defendant’s counsel a

 copy of the November 10, 2022 Order (DE 14) to counsel’s email address

 iwhelleresq@gmail.com.

        5.       On November 21, 2022, at 1:42 P.M., I personally emailed Defendant’s counsel a

 copy of the Notice of Deposition of Baila Sebrow, Plaintiff’s First Request for the Production of

 Documents, and Plaintiff’s First Set of Interrogatories, to counsel’s email address

 iwhelleresq@gmail.com.

        6.       On November 21, 2022, at 1:44 P.M., I personally emailed Defendant’s counsel

 an email requesting Defendant provide our firm with her initial disclosures.


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        7.     On December 5, 2022, at 11:46 A.M., I personally emailed Defendant’s counsel a

 good faith letter requesting a copy of Defendant’s Rule 26(a)(1) disclosures and to meet and

 confer regarding e-discovery to counsel’s email address iwhelleresq@gmail.com.

        8.     On December 16, 2022, at 1:52 P.M., I personally emailed Defendant’s counsel a

 copy of this court’s December 12, 2022 Order (DE 21) to counsel’s email address

 iwhelleresq@gmail.com.

        9.     On December 21, 2022 at 8:30 P.M. I sent Mr. Heller the good-faith email that is

 annexed hereto as Exhibit 1.

        10.    On December 23, 2022, I called Mr. Heller’s office twice to discuss outstanding

 discovery issues. Mr. Heller did not answer his phone.

        11.    To date, no discovery response or disclosures have been received from Defendant.

        I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge, information, and belief.

 Dated: New York, New York
        December 27, 2022
                                                      /s/Daniel Szalkiewicz, Esq.
                                                      Daniel S. Szalkiewicz




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